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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11   JOSHUA ASSIFF,                              Case No. 2:22-cv-05367 RGK (MAAx)
  12                   Plaintiff,                  [PROPOSED] ORDER CONTINUING
  13                                               HEARING ON MOTION FOR
             v.
                                                   SUMMARY JUDGMENT
  14
       COUNTY OF LOS ANGELES;
  15   SHERIFF DEPUTY BADGE                        Action Filed: August 3, 2022
  16   NUMBER 404532;                              Pretrial Conference: July 10, 2023
       And DOES 1 through 10,                      Trial Date: July 25, 2023
  17
  18                   Defendants.                 Assigned to: Hon. R. Gary Klausner,
                                                   District Judge, Courtroom 850
  19
  20                                               All Discovery Matters Referred to: Hon.
                                                   Maria A. Audero, District Judge
  21
  22         Having considered Plaintiff’s ex parte application for an order continuing
  23   hearing on motion for summary judgment, and for good cause shown,
  24
  25         IT IS HEREBY ORDERED that the hearing on Defendants’ Motion For
  26   Summary Judgment scheduled for hearing on June 26, 2023 shall be continued to
  27   July 10, 2023. The deadline to file the opposition to the motion is based on the new
  28   hearing date.

       _____________________________________________________________________________
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                   [PROPOSED] ORDER CONTINUING HEARING ON MOTION FOR SUMMARY JUDGMENT
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                                     #:871


   1         In the alternative, Plaintiff shall have until _____________ to file his
   2   opposition to Defendants’ Motion For Summary Judgment
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   5   DATE: __________                               _______________________________
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                                                      JUDGE

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                  [PROPOSED] ORDER CONTINUING HEARING ON MOTION FOR SUMMARY JUDGMENT
